UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

_-X COURT EXHIBIT

GEORGE THORSEN, +

Plaintiff,

-against- VERDICT SHEET
November 9, 2009

COUNTY OF NASSAU, NASSAU COUNTY CV 03-1022 (ARL)
CIVIL SERVICE COMMISSION, JOHN
CARWAY,

Defendants.

LINDSAY, MAGISTRATE JUDGE:

According to the principles of law as charged by the Court and the facts as you find them,
please answer the following questions.

PART ONE - SECTION 1983 FIRST AMENDMENT CLAIM

1. Did the plaintiff prove that the defendant knew that the plaintiff affiliated himself with a
faction of the Republican Party?

Yes J No

If you answered “NO” to Question 1, then you have found a verdict in favor of the
defendant on the plaintiff’s claims and should cease deliberations, the foreperson is to sign and
date the verdict sheet, and you shall advise the Court by note that you are ready to return to the
courtroom to announce your verdict. If your answer to Questions | is “YES” then proceed to
Question 2.

2. Did the plaintiff prove that his affiliation with a faction of the Republican Party was a

substantial or a motivating factor in the decision of the defendant to deny him the appointment or
reduce his job duties?

A) Denial oe appointment?
Yes No

B) 7 of job duties?
Yes No
If you answered “NO” to both Questions 2(A) and 2(B), then you have found a verdict in
favor of the defendant on the political affiliation claim. If your answer to either Question 2(A) or
2(B) is “YES” than you have found a verdict in favor of the plaintiff as to his political affiliation
claim. Proceed to Question 3.

PART TWO - CONSTRUCTIVE DISCHARGE

If you answered “NO” to Question 1, then you have found a verdict in favor of the
defendant on the constructive discharge claim and should cease deliberations, the
foreperson is to sign and date the verdict sheet, and you shall advise the Court by note that
you are ready to return to the courtroom to announce your verdict. If your answer to
Questions 1 is “YES” then proceed to Question 3.

3. Did the plaintiff prove that the defendant constructively discharged him because of his
affiliation with a faction of the 7 Party?

Yes No

If you answered “NO” to Question 3 then you have found a verdict in favor of the
defendant on the constructive discharge claim. If your answer to Questions 3 is “YES” than you
have found a verdict in favor of the plaintiff on the constructive discharge claim.

PART THREE - DAMAGES
Answer the following questions only if you have found in favor of the plaintiff as to one or
more of his claims. If you have found in favor of the defendant as to both claims, than
cease deliberations, and the foreperson is to sign and date the verdict sheet and advise the

Court by note that you are ready to return to the courtroom to announce your verdict.

4. We award the plaintiff damages for emotional distress in the sum of:

$ | 500,000. OO

If you answered “NO” to Question 3, skip Questions 5 and 6, and proceed to Question 7. If
you answered “YES” to Question 3, than answer Questions 5 and 6, With respect to
Question 5, you should not consider any retirement benefits received.

5. We award the plaintiff damages for his loss of back pay, as defined by the Court, arising from
the plaintiff's constructive discharge claim in the sum of:

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6, We award the plaintiff damages for his loss of front pay, as defined by the Court, arising from
the plaintiff's constructive discharge claim in the sum of:

$

7. Do you award the plaintiff punitive damages against John Carway arising from the plaintiff's
political _— constructive discharge claims?
Yes No

If your answer to question 7 is “YES,” in what amount do you award punitive damages in
favor of the plaintiff against John Carway

5 500,000.00

Cease deliberations. The foreperson is to sign and date the verdict sheet, and advise the
Court by note that you are ready to return to the Courtroom to announce your verdict.

Dated: Central Islip, New York
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FOREPERSON

